                IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

COMMON CAUSE, et al.,                       )
                                            )
             Plaintiffs,                    )
                                            )
      v.                                    )
                                            )
                                                       CIVIL ACTION
ROBERT A. RUCHO, in his official            )
                                                NO. 1:16-CV-1026-WO-JEP
capacity as Chairman of the North           )
Carolina Senate Redistricting               )
                                                    THREE-JUDGE COURT
Committee for the 2016 Extra Session        )
and Co-Chairman of the Joint Select         )
Committee on Congressional                  )
Redistricting, et al.,                      )
                                            )
             Defendants.


League of Women Voters of North             )
Carolina, et al.,                           )
                                            )
             Plaintiffs,                    )
                                            )
      v.                                    )
                                            )         CIVIL ACTION
Robert A. Rucho, in his official capacity   )   NO. 1:16-CV-1164-WO-JEP
as Chairman of the North Carolina           )
Senate Redistricting Committee for the      )       THREE-JUDGE COURT
2016 Extra Session and Co-Chairman of       )
the 2016 Joint Select Committee on          )
Congressional Redistricting, et al.,        )
                                            )
             Defendants.                    )
                                            )

LEGISLATIVE DEFENDANTS’ EMERGENCY MOTION TO STAY PENDING
 SUPREME COURT REVIEW AND REQUEST FOR EXPEDITED RULING




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       Legislative defendants respectfully move this Court to stay its Memorandum

Opinion and associated Order (“Order”) entered August 27, 2018 (D.E. 142 in Case No.

16-1026) for the reasons stated in the contemporaneously filed Memorandum in Support

of Motion to Stay and in Response to Court’s Order of August 27, 2018. Because of the

exigent nature of the circumstances, legislative defendants request a ruling on this motion

no later than Tuesday, September 4, 2018 so that legislative defendants can immediately

seek relief in the United States Supreme Court if necessary.

       WHEREFORE, the Court should stay its Order in this case pending Supreme

Court review.

       Respectfully submitted this 31st day of August, 2018.



                                       OGLETREE, DEAKINS, NASH
                                       SMOAK & STEWART, P.C.

                                       /s/ Phillip J. Strach
                                       Phillip J. Strach
                                       N.C. State Bar No. 29456
                                       Michael D. McKnight
                                       N.C. State Bar No. 36932
                                       phil.strach@ogletreedeakins.com
                                       michael.mcknight@ogletreedeakins.com
                                       4208 Six Forks Road, Suite 1100
                                       Raleigh, North Carolina 27609
                                       Telephone: (919) 787-9700
                                       Facsimile: (919) 783-9412
                                       Counsel for Legislative Defendants




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                            CERTIFICATE OF SERVICE

       I, Phillip J. Strach, hereby certify that I have this day electronically filed the
foregoing with the Clerk of Court using the CM/ECF system which will provide
electronic notification of the same to the following:

Edwin M. Speas, Jr.                            Gregory L. Diskant
Carolina P. Mackie                             Susan Millenky
Poyner Spruill LLP                             Patterson Belknap Webb & Tyler LLP
P.O. Box 1801 (27602-1801)                     1133 Avenue of the Americas
301 Fayetteville St., Suite 1900               New York, New York 10036
Raleigh, NC 27601                              gldiskant@pbwt.com
espeas@poynerspruill.com                       smillenky@pbwt.com
cmackie@poymerspruill.com                      Attorneys for Common Cause Plaintiffs
Attorneys for Common Cause Plaintiffs

Emmet J. Bondurant                             Alexander McC. Peters
Jason J. Carter                                Senior Deputy Attorney General
Benjamin W. Thorpe                             N.C. Department of Justice
Bondurant, Mixson & Elmore, LLP                P.O. Box 629
1201 W. Peachtree Street, NW, Suite 3900       Raleigh, NC 27602
Atlanta, Georgia 30309
bondurant@bmelaw.com
carter@bmelaw.com
bthorpe@bmelaw.com
Attorneys for Common Cause Plaintiffs




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Allison Riggs                                     Danielle M. Lang
SOUTHERN COALITION FOR SOCIAL                     CAMPAIGN LEGAL CENTER
JUSTICE                                           1411 K STREET NW
1415 W. HWY. 54, STE. 101                         SUITE 1400
DURHAM, NC 27707                                  WASHINGTON, DC 20005
Email: emily@southerncoalition.org                202-736-2200
Email: anita@southerncoalition.org                Fax: 202-736-2222
Attorneys for League of Women Voters of           Email: dlang@campaignlegalcenter.org
North Carolina Plaintiffs                         Attorneys for League of Women Voters of
                                                  North Carolina Plaintiffs

Annabelle E. Harless
Ruth M. Greenwood                                 Nicholas O. Stephanopoulos
CAMPAIGN LEGAL CENTER                             UNIVERSITY OF CHICAGO LAW
73 W. MONROE ST., STE. 322                        SCHOOL
CHICAGO, IL 60603                                 1111 E 60TH STREET
312-561-5508                                      CHICAGO, IL 60637
Fax: 202-736-2222                                 773-702-4226
Email: aharless@campaignlegalcenter.org           Email: nsteph@uchicago.edu\
Attorneys for League of Women Voters of           Attorneys for League of Women Voters of
North Carolina Plaintiffs                         North Carolina Plaintiffs



      This the 31st day of August, 2018.

                                           OGLETREE, DEAKINS, NASH
                                           SMOAK & STEWART, P.C.

                                           /s/ Phillip J. Strach
                                           Phillip J. Strach

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